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                                UNITED STATES BANKRUPTCY COURT

                    NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                                    Case No. 23-60775-TJ23

 TAWANNA SAVAGE,                                           Chapter 13

                  Debtor.


                                    REQUEST FOR SPECIAL NOTICE


TO:      UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR(S), AND ALL INTERESTED
         PARTIES


         PLEASE TAKE NOTICE that ALDRIDGE PITE, LLP submits this Request for Special Notice and

Service of Copies, for Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as

Certificate Trustee of Bosco Credit V Trust Series 2012-1 and hereby requests special notice of all events

relevant to the above-referenced bankruptcy and copies of all pleadings or documents filed in relation to the

above-referenced bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy

Procedure, Rule 2002, the commencement of any adversary proceedings, the filing of any requests for

hearing, objections, and/or notices of motion, or any other auxiliary filings, as well as notice of all matters

which must be noticed to creditors, creditors committees and parties-in-interest and other notices as required

by the United States Bankruptcy Code and Rules and/or Local Rules of the above-referenced bankruptcy

court.

         ALDRIDGE PITE, LLP submits this Request for Notice and Service of Copies as attorneys for

Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as Certificate Trustee of

Bosco Credit V Trust Series 2012-1.

         ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master Mailing

List in this case, the following address be used:

                                                Evan Durkovic
                                              Aldridge Pite, LLP
                                             Six Piedmont Center
                                     3525 Piedmont Road, N.E., Suite 700
                                              Atlanta, GA 30305
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           Neither this Request for Special Notice nor any subsequent appearance, pleading, claim, proof of

claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of the within

party's:

           a.     Right to have any and all final orders in any and all non-core matters entered only after de

novo review by a United States District Court Judge;

           b.     Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004. This Request for Special Notice shall not operate as a confession

and/or concession of jurisdiction. Moreover, the within party does not authorize ALDRIDGE PITE, LLP,

either expressly or impliedly through ALDRIDGE PITE, LLP’s participation in the instant proceeding, to act

as its agent for purposes of service under Fed. R. Bankr. P. 7004;

           c.     Right to trial by jury in any proceeding as to any and all matters so triable herein, whether or

not the same be designated legal or private rights, or in any case, controversy or proceeding related hereto,

notwithstanding the designation or not of such matters as "core proceedings" pursuant to 28 U.S.C. §

157(b)(2)(H), and whether such jury trial right is pursuant to statute or the United States Constitution;

           d.     Right to have the reference of this matter withdrawn by the United States District Court in

any matter or proceeding subject to mandatory or discretionary withdrawal; and

           e.     Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which this

party is entitled under any agreements at law or in equity or under the United States Constitution.

Dated: November 8, 2023                                    ALDRIDGE PITE, LLP


                                                           /s/ Evan Durkovic
                                                           Evan Durkovic (SBN 948332)
                                                           edurkovic@aldridgepite.com
                                                           Aldridge Pite, LLP
                                                           Six Piedmont Center
                                                           3525 Piedmont Road, N.E., Suite 700
                                                           Atlanta, GA 30305
                                                           Phone: (404) 994-7400
                                                           Fax: (888) 873-6147
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 IN RE:                                                     Case No. 23-60775-TJ23

 TAWANNA SAVAGE,                                            Chapter 13

                   Debtor.


                                       CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 years of age, and that on November 8, 2023, I caused a copy of Request for
Special Notice which was filed in this bankruptcy matter on November 8, 2023, to be served in the manner
indicated:
The following parties have been served by the Court by the virtue of their participation in the CM/ECF
system:

Melissa J. Davey

The following parties have been served via U.S. First Class Mail:
Tawanna Savage
2254 Old Salem Rd, SE
Conyers, GA 30013




I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Dated: November 8, 2023
                                                           /s/ Evan Durkovic
                                                           Evan Durkovic (SBN 948332)
                                                           edurkovic@aldridgepite.com
                                                           Aldridge Pite, LLP
                                                           Six Piedmont Center
                                                           3525 Piedmont Road, N.E., Suite 700
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